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   7
                                 UNITED STATES DISTRICT COURT
   8
              CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISON
   9

  10 Optima Tax Relief, LLC, a Delaware                      CASE NO. 8:18-cv-806-JVS_JDE
       Limited Liability Company
  11
       Plaintiff,                                            ORDER MODIFYING
  12                                                         SCHEDULING ORDER AND
       vs.                                                   CONTINUING TRIAL DATE
  13
       OPTIMUM WEALTH MANAGEMENT,
  14 INC. d.b.a. OPTIMUM TAX LAW, a
       California Corporation; and DOES 1–10,
  15 inclusive

  16 Defendants.

  17

  18          The Court has reviewed and considered the Joint Stipulation submitted by
  19 Plaintiff Optima Tax Relief, LLC (“Optima”), and Defendant OPTIMUM WEALTH

  20 MANAGEMENT, INC., d.b.a OPTIMUM TAX LAW (“Defendant”),, and with good

  21 cause appearing.

  22          IT IS HEREBY ORDERED that the Proposed Modified Scheduling Order
  23 and Continued Trial Date is GRANTED.

  24          The Modified Scheduling Order is as follows:
  25

  26                                                         Weeks    Current    Parties’   Court

  27                                                         before   Deadline   Request    Order

  28    Matter                               Time            trial


        Optima Tax Relief v. Optimum Wealth Management   1                          [PROPOSED] ORDER
        USDC, Case No. 8:18-cv-806
Case 8:18-cv-00806-JVS-JDE Document 24 Filed 07/17/19 Page 2 of 3 Page ID #:211



   1   Trial date- Jury                     8:30 a.m.       0    8/27/2019   12/3/201   12/3/2019
   2   Estimated length: 6 days             (Tuesdays)           6 days      9
   3                                                                         6 days
   4   Final Pretrial Conference;           11:00 a.m.      -2   8/12/2019   11/18/20   11/18/201
   5   Hearing on Motions in Limine         (Mondays)                        19         9
   6   File: Agreed Upon Set of Jury
   7   Instructions and Verdict Forms
   8   and Joint Statement re Disputed
   9   Instructions and Verdict Forms;
  10   Proposed Voir Dire Qs; and
  11   Agreed−to Statement of Case
  12   Lodge Pretrial Conf. Order;                          -3   8/5/2019    11/12/20   11/12/201
  13   File Memo of Contentions of                                           19         9
  14   Fact and Law;
  15   Exhibit List;
  16   Witness List; and
  17   Status Report re Settlement
  18   Last day for hand−serving                            -6   7/15/2019   10/22/20   11/21/201
  19   Motions in Limine                                                     19         9
  20   Last day for hearing motions         1:30 p.m.       -7   7/8/2019    10/15/20   10/15/201
  21                                        (Mondays)                        19         9 8:30 a.m.
  22   Expert Discovery Cutoff                                   6/3/2019    9/6/2019   9/6/2019
  23
       Rebuttal Expert Witness                                   5/13/2019   8/16/201   8/16/2019
  24
       Disclosure                                                            9
  25
       Opening Expert Witness                                    4/15/2019   7/15/201   7/15/2019
  26
       Disclosure [See F.R.Civ.P.                                            9
  27
       26(a)(2)]
  28


       Optima Tax Relief v. Optimum Wealth Management   2                         [PROPOSED] ORDER
       USDC, Case No. 8:18-cv-806
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   1   Last day to conduct Settlement                                         7/20/201     7/20/2019
   2   Conference                                                             9
   3   Discovery Cutoff                                           4/1/2019    7/1/2019     7/1/2019
   4

   5 IT IS SO ORDERED.

   6

   7 Dated: July 17, 2019

   8                                                        _______________________
                                                            Hon. James V. Selna
   9
                                                            United States District Judge
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       Optima Tax Relief v. Optimum Wealth Management   3                         [PROPOSED] ORDER
       USDC, Case No. 8:18-cv-806
